          Case 23-31037-swe7         Doc 27      Filed 07/14/23 Entered 07/14/23 14:02:44                Desc
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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed July 14, 2023
                                            United States Bankruptcy Judge
 ______________________________________________________________________



BTXN 104b/105b (rev. 09/11)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
Highland Select Equity Master Fund, L.P.                   §    Case No.: 23−31037−swe7
                                                           §    Chapter No.: 7
                                        Debtor(s)          §


                              ORDER FOR ADMISSION PRO HAC VICE
   The Court, having considered the Application for Admission Pro Hac Vice of JEREMY A ROOT, to represent
THE DUGABOY INVESTMENT TRUST, related to document #23, ORDERS this application be:

    Granted − The Clerk of the District Court for the Northern District of Texas shall deposit the application fee to
the account of the Non−Appropriated Fund.

    Denied − The Clerk of the District Court for the Northern District of Texas shall return the admission fee to the
applicant.

                                               # # # End of Order # # #
